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UNITED STATES DISTRICT COURT
l\/IlDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

cAsE No: 61 14-cv-978-or1-37KR33
CLlNToN sTEPHENsoN,

Plaintiff,
v.

AMICA l\/IUTUAL INSURANCE
COMPANY

Defendant.
/

 

PLAINTIFF'S MOTION TO REMAND
AND SUPPORTING MEMORANDUM OF LAW

COl\/IES NOW, the Plaintiff, CLINTON STEPHENSON, by and through
undersigned counsel and pursuant to 28 U.S.C. 1447, hereby files his Motion to Remand

this matter to State Circuit Court and in support thereof would state:

FACTS AND EXHIBITS
1) Plaintiff was injured in an automobile accident occurring on September 10, 2010.
2) Prior to filing a lawsuit, Plaintiff attempted to settle his claim with the tortfeasor,

Richard Mueller, as well as with Amica Mutual Insurance Company, (hereinafter
referred to as Amica) Stephenson’s Uninsured Motorist Carrier.
3) Plaintiff, through his attomey, at this times stipulates that he is willing to settle
this case for an amount equal to or less than $50,000.00. (Exhibit A, attached)
4) Plaintiff asserts that at all times to date, Plaintiff has been and is willing to accept
an amount equal to or less than $50,000.00, including at the time the Removal

Action was filed by the Defendant. (Exhibit A, attached)

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5)

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14)

On or about September 21 , 2011, Allstate on behalf of Richard Mueller, offered
$5,595.00 to settle. (Exhibit B, attached).

On or about December 13, 2012, Allstate on behalf of Richard Mueller, increased
its offer to $6000.00, explaining the minimal value of the claim (Exhibit C,
attached). Until the lawsuit was filed, Allstate never increased this offer.

On November 29, 2012, Plaintiff offered to settle with Amica for $100,000
despite the policy limits being $200,000. (Exhibit D, attached)

On December 12, 2012, Amica responded to that settlement demand and stated
that “the claim is valued within the underlying offsets totaling $26,000. (Exhibit
E, attached).

On February 1, 2013, Amica again responded that the claim was valued within
the underlying limits (Exhibit F. Attached).

On October 4, 2013, Plaintiff filed a Civil Remedy Notice against Amica (Exhibit
G, attached)

On or about November 4, 2013, Amica responded to the Civil Remedy Notice by
offering $5000.00 to settle the case. (Exhibit H, attached)

The underlying lawsuit was filed in Brevard County Circuit Court on December
31, 2013. Both Richard l\/lueller and Amicus were named in the underlying
lawsuit as defendants

After Defendants were served and litigation commenced, Allstate offered to settle
the case for $15,000, policy limits (that offer was conveyed on February 27,
2014) ; (Exhibit I, attached).

Amicus, by letter dated March 6, 2014, approved of the settlement and waived

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subrogation rights. (Exhibit J, attached)

15) On l\/Iay 14, 2014, after paperwork was executed and the settlement check
cleared, Richard Mueller was formally dismissed from the underlying action. (See
Register of Actions, Brevard County, Exhibit K attached)

16) On June 25"‘, 2014, Defendant, Amica filed its notice of Removal based on
diversity of citizenship of the parties and the allegation the Plaintiff is seeking in
excess of $75,000.00 as damages in this personal injury case.

17) Removal occurred more than 30 days after AMICA knew it was the only
remaining party in the Suit and well over a year after Plaintiff had demanded
$100,000 in settlement

LAW AND ARGUMENT
TIMELINESS
Defendant, Amica, has removed this case purportedly because the Case is worth
more than $75,000 after set-offs. Plaintiff has been and is willing to settle this cause for
an amount right now of $50,000 or less. Regardless, to the extent Amica claims the

Plaintist case is valued at an amount of $75,000 or greater, it is apparently based on a

demand sent to Amica by Plaintiff on November 29, 2012 or thereabout. In that

demand, Plaintiff offered to settle his case for an amount of $1 00,000. Therefore,

Defendant had in its possession Plaintiffs "Demand Package" which evidenced Plaintiff

was arguably valuing his claim at an amount in excess of $75,0000.00. Assuming the

Plaintiff’s claim is legitimately valued at an amount of $75,000 after set-offs, Defendant

should have removed this matter to Federal Court no later than June 13"‘, 2014, which

was thirty days after Notice of Dismissal of the non-diverse party to this action.

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Defendant's Notice of Removal, however, was not filed until June 25"‘, 2014, and was
therefore untimely.

28 U.S.C. § 1446. Procedure for removal of civil actions, states in pertinent part:
(b) Requirements; Generally _ (1) The notice of removal of a civil action or proceeding
shall be filed within 30 days after the receipt by the defendant, through service or
otherwise, of a copy of the initial pleading setting forth the claim for relief upon which
such action or proceeding is based, or within 30 days after the service of summons upon
the defendant if such initial pleading has then been filed in court and is not required to be
served on the defendant, whichever period is shorter. . . .

“ (3) Except as provided in subsection ©, if the case stated by the initial pleading is not
removable, a notice of removal may be filed within 30 days after receipt by the
defendant, through service or otherwise, of a copy of an amended pleading, motion, order
or other paper from Which it may first be ascertained that the case is one which is or has
become removable.”

Pursuant to the longstanding,judicially created "voluntary-involuntary" rule, if
the resident defendant was dismissed from the case by the voluntary act of the plaintiff,
the case became removable See Riverdale Baptist Church V. Certainteed Co;p. 349 F.
Supp.2d 943 (D. Md. 2004); lnsinga V. Labella, 845 F.2d 249 (l lth Cir. 1988). As
Amica knew Plaintiff settled with the resident defendant and the dismissal was effective
May 14"‘, 2014, Amica had 30 days once the case became removable to do so.

The crucial inquiry is when the defendant should have "intelligently ascertained"
that the case was removable once the non-diverse party was dismissed . See_B':ln_kst_o_nL
Illinois Nat. lns. Co. 443 F. Supp.2d 1380 (l\/l.D. Fla. 2006). lt is apparently
Defendant's position that the thirty (30) day period to Remove began to run when
Plaintiff‘s Response to the Request for Admissions became "part of the record" and not
when removal became possible due to the dismissal of the non-diverse Party.

However, settlement demands are a part of the civil litigation process, and

Defendants can rely upon them as "other paper" under 28 U.S.C. 1446 (b) to remove a

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matter to Federal Court. See Lowery v. Ala. Power Co., 483 F.3d 1 184, 1213 n.62 (1 lth
Cir. 2007); Johnson V. Mcghee, Case No. 6:13-cv-l314-Orl-37DAB (M.D.Fla.
10-23-2013); Seoanes V. Capital One Bank, Case No. 6:13-cv-1568-Orl-37GJK
(l\/I.d.fla. 12-4-2013); Accordingly, Defendant has failed to file its Notice of Removal
in a timely fashion, and Plaintiff respectfully requests the cause should be remanded for
this reason alone.
JURISDICTION AMOUNT

Regardless of the untimely situation, the Defendant has failed to establish this
cause is within the Jurisdiction of this Court because it has the burden to show the
amount in controversy exceeds the jurisdictional amount of $75,000. Defendant’s own
evaluation of the claim indicates it has a minimal value of, at best, $5000 pursuant to its
settlement offer after a Civil Remedy Notice was filed against it. Allstate, on behalf of
the Tortfeasor also saw little value to the claim, given the low offers made in settlement
There have been no additional medical claims or injures which have supplemented the
previous Settlement demand for which Amica offered only $5000.00. lf the Defendant
does not believe the case is worth more than $5000.00 pursuant to all information
available to it, how can it come into this Court and claim, under Rule 1 1, that the amount
in controversy exceeds this $75,000?

28 U.S.C. § 1446(b) allows a defendant to remove after receipt from the plaintiff
of a "paper" showing federal jurisdiction A defendant removing under Section 1446(b)
must provide facts _ not mere conclusions _ that readily establish federal jurisdiction.
Lowerv v. Alabama Power. 483 F.3d 1184, 1215 (1 lth Cir. 2007); see also WlllkM

Best Buy, 269 F.3d at 1316, 1319-20 (l lth Cir. 2001).

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The plaintiffs demand letter and the civil remedy notice papers either establish
that Amica KNEW the case was worth $75,000 early on, in which case Removal was
untimely, or alternatively failed to satisfy the defendant‘s burden to establish federal

jurisdiction. See Piazza v. Ambassador JV L.P., 2010 WL 2889218 (M.D. Fla. 2010) ("a

 

settlement demand provides only marginal evidence of the amount in controversy
because the `plaintiff‘s letter is nothing more than posturing by plaintiffs counsel for
settlement purposes and cannot be considered a reliable indicator of the damages' sought
by the plaintiff") (quoting Stanbridge v. Wal-Mart Stores, 945 F. Supp. 252, 256-57
(N.D. Ga. 1996)); see Parrish v. Sears, Roebuck and Co., 2010 WL 3042230 (M.D. Fla.
2010); Thibodeaux v. Paccar, lnc., 592 F. Supp. 2d 1377, 1379 n.l (M.D. Ala. 2009); see
also 14AA Wright & Miller, Federal Practice and Procedure § 3702 (201 1).

Defendant relies on the Plaintiff’s Responses to the Requests for Admission for
its case for Removal. Those responses neither admitted nor denied the value of the
Plaintiffs claim. It would potentially be malpractice for the Plaintiff’s attorney to file a
pleading which could be used against the Plaintiff as trial. The responses to the Request
for Admissions add no information that was not already available to Amica at the
Dismissal of the Tortfeasor.

In Williams v. Best Buv Comnanv. lnc., 269 F.3d 1316, 1319-20 (1 lth Cir.2001),
the Eleventh Circuit held that if the requisite jurisdictional amount is not facially
apparent from the complaint (as is the case here), the district court should look to the
notice of removal and may require thedefendant to submit evidence supporting its claim:

"A conclusory allegation in the notice of removal that the jurisdictional amount is
satisfied, without setting forth the underlying facts supporting such an assertion, is

insufficient to meet the defendant's burden." Id. Further, it is the removing defendant's
burden to show by a preponderance of the evidence that the amount in controversy

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exceeds the jurisdictional amount. "Any doubts about the propriety of federal jurisdiction
should be resolved in favor of remand to state court." Adventure Outdoors, Inc. v.
Bloomberg, 552 F.3d 1290, 1294 (1 lth Cir. 2008).”

ln the case of Dukas V. First Liberty lnsurance Com_r_)any (l\/l.d.fla. 2-6-2014) ,
the court held a response to Request for Admissions in which the Plaintiff indicated
damages “may” exceed $75,000 inadequate to confer F ederal Jurisdiction:

First Liberty's sole basis for the removal of this breach of contract case is Plaintiffs'
supplemental response to a Request for Admission in which Plaintiffs indicate that their
damages "may" exceed $75,000. . . the Notice of Removal does not satisfy the Court that
the jurisdictional amount has been satisfied . . .

A number of courts have determined that a plaintiffs discovery responses concerning the
amount in controversy are not sufficient to support removal of a case to federal court.
See, e.g., Bruzon-Pena v. lnfinity lndem. lns. Co., No. 8:09-cv-2170-T-33EAJ, 2010 U.S.
Dist. LEXIS 103084 (M.D. Fla. July 14, 2010) (remanding breach of insurance contract
case when removal was predicated upon plaintiffs failure to commit to an amount in
controversy during discovery); Mathews v. GEICO, No. 8113-cv-3053-T-33TBM (M.D.
Fla. Dec. 31, 2013,) (remanding bad faith insurance case when removal was predicated
upon plaintiffs discovery responses); lvlacDonald v. Circle K. Stores, lnc., No.
6:08-cv-1825-Orl-22DAB, 2009 U.S. Dist. LEXIS 3117 (M.D. Fla. Jan. 16, 2009)
(remanding slip-and-fall case when removal was based on plaintiffs responses to
requests for admissions and interrogatory answers regarding the amount in controversy
and noting that responses to interrogatories "merely establish the possibility - not a
probability _ that the Plaintiffs damages might exceed $75,000.").

Amica points to the Plaintiff’s complaint claiming “serious” injuries to support its
Motion for Removal. But as noted by the court in Young v. Allstate, Case 8:13-cv-
02912-SDM-TGW, Judge Steven Merrday held (copy attached as exhibit L):

“The complaint categorizes the plaintiffs purported grievances, including pain and
suffering, medical expenses, disability, and loss of earning capacity. (Doc. 5 11 9) The
allegations, however, inhere in almost every tort complaint, convey no fact, and fail to
establish the requisite amount in controversy Miea'ema v. Maylag Cott., 450 F.3d 1322,
1330 (l lth Cir. 2006)”.

CONCLUSION

The plaintiff sued in the state court in December, 2013, more than one year after

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his demand letter and later his civil remedy notice to Amica. After suing the defendant in
this action, the plaintiff settled his claim against the tortfeasor (Richard Mueller) for
$15,000.00. Amica has never offered more than $5000.00 to settle the claim. Plaintiff is
currently willing to settle the case for $50,000.00 or less. Given the setoff for which
Amica is entitled, including the underlying settlement amount and Pip in the amount of
810,000.00, and given Amica’s offer to settle of only $5000.00, it is respectfully
suggested that Amica does not in good faith believe the Jurisdiction amount of $75,000
to be met in this case. Regardless, it has not met its burden of establishing the
Jurisdictional amount equals or exceeds $75,000.00.

WHEREFORE, it is respectfully requested this Court grant Plaintiff s Motion to
Remand.

Dated this day of July, 2014.

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CERTIFICATE OF COMPLIANCE WITH RULE 3.10

The undersigned certifies that he has consulted with
opposing counsel, Brian Stokes, who opposes the granting of
this Motion.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy Of the
foregoing has been furnished to Brian D. Stokes, Esquire,
attorney for Amica Mutual Insurance Company, Alvarez,
Winthrop, et.al. P.O. Box 3511, Orlando, Fl. 32802 via

transmission of Notice of Electronic Filing generated by

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cM/ECF, on this 2 day Of July, 2014.

Respectfully,

By: /s/ David J. Gorewitz, Esq.
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Florida Bar No: 817678

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